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                  IN THE UNITED STATES DISTRICT COURT
                FOR THE WESTERN DISTRICT OF TENNESSEE
                             WESTERN DIVISION
______________________________________________________________________________

OLIVER LEON ROGERS, individually and on  )
behalf of all others similarly situated, )
                                         )
         Plaintiff,                      )
                                         )   No. 2:11-cv-02120-SHM-dkv
         v.                              )
                                         )   CLASS ACTION
FIRST TENNESSEE BANK,                    )
                                         )
         Defendant.                      )
______________________________________________________________________________

                STIPULATION OF DISMISSAL WITH PREJUDICE
______________________________________________________________________________

         COMES NOW Plaintiff Oliver Leon Rogers and Defendant First Tennessee Bank

National Association, by and through their undersigned counsel, and hereby stipulate that the

above-captioned action should be and hereby is dismissed with prejudice pursuant to Rule

41(a)(1)(A)(ii) of the Federal Rules of Civil Procedure, with each party to bear its own fees and

costs.


                                                    Respectfully submitted,

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                                 CERTIFICATE OF SERVICE

        I hereby certify that a true and correct copy of the foregoing has been electronically filed
using the CM/ECF system this 4th day of May, 2012.


                                                      s/ Robert F. Tom




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